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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


DEVIN G. NUNES,

               Plaintiff,

      v.                                                Civil Action No. 1:21-cv-00506 (CJN)

WP COMPANY LLC, et al.,

               Defendants.


                                               ORDER

       Having considered Defendants’ Motion to Enforce Compliance with the October 25, 2022

Order, Plaintiff’s Opposition to the Motion, Defendants’ Reply, and the Parties’ arguments at the

January 25, 2023 hearing, it is hereby

       ORDERED that Defendants’ Motion to Enforce Compliance is GRANTED IN PART,

DENIED IN PART, and HELD IN ABEYANCE IN PART; and it is further

       ORDERED that, within 21 days of the entry of this Order, Plaintiff shall, consistent with

the Federal Rules of Civil Procedure:

       1. Provide a complete account of each of his activities and whereabouts on March 21,

            2017, which shall include, in chronological order, (A) each specific location Plaintiff

            visited that day; (B) the specific time Plaintiff arrived at each location; (C) the specific

            time Plaintiff departed each location; and (D) the person or persons who were present

            at each location.

       2. Identify every individual on Plaintiff’s staff who communicated with anyone regarding

            any aspect of Plaintiff’s March 21 and 22 visits to the White House.




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3.    Identify every individual who worked on Plaintiff’s campaign website post about

      “lawsuits against The Washington Post,” including any and all individuals who

      reviewed the website post and/or proposed edits to it.

4.    Identify every individual who has or may have knowledge about the following topics:

         a. the approximate time at which Plaintiff departed for the White House on March

             21, 2017;

         b. the approximate time at which Plaintiff arrived at the White House on March

             21, 2017;

         c. the approximate time at which Plaintiff left the White House on March 21,

             2017;

         d. Plaintiff’s activities and whereabouts after leaving the White House on March

             21, 2017;

         e. the purpose of Plaintiff’s visit to the White House on March 21, 2017;

         f. the purpose of Plaintiff’s visit to the White House on March 22, 2017; and

         g. the nature of the documents and/or materials that Plaintiff reviewed at the White

             House on March 21, 2017.

5. For each individual identified in response to paragraphs (2)–(3) above, and any

      individual identified in response to paragraph (4) above who worked on either

      Plaintiff’s staff or Plaintiff’s campaign, identify every repository used by that

      individual, from 2017 to present, to send, receive, and store communications and/or

      documents. Plaintiff shall also identify every repository he personally used, from 2017

      to present, to send, receive, and store communications and/or documents.




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      6. For each repository identified in response to paragraph (5) above, produce all non-

         privileged documents responsive to the Defendants’ Requests for Production Nos. 1

         through 59 that have not yet been produced. Plaintiff shall also produce original

         metadata (if any) for all documents, including for all previously produced documents.

         If Plaintiff lacks access to a specific repository, he shall notify Defendants and explain

         why he lacks access.

      7. Submit a signed declaration describing in detail the steps Plaintiff took to comply with

         each paragraph of this Order and certifying that he made all reasonable efforts to ensure

         compliance; and it is further

      ORDERED that Defendants’ requests for a deposition and sanctions are HELD IN

ABEYANCE; and it is further

      ORDERED that Defendants’ Motion is otherwise DENIED.



DATE: February 1, 2023
                                                           CARL J. NICHOLS
                                                           United States District Judge




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